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                DECLARATION OF MARIAN W. WENTWORTH

 I, Marian W. Wentworth, declare as follows:

      1.     I am the President and Chief Executive Officer of Management

Sciences for Health, Inc. (“MSH”). The statements made in this declaration are

based on my personal knowledge, materials I have reviewed, and information made

available to me pursuant to my duties at MSH.

      2.     MSH is global nonprofit organization that is headquartered at 4201

Wilson Boulevard, Suite 500, Arlington, VA 22203. Founded in 1971, MSH has

improved health systems and health outcomes in more than 150 countries

worldwide by providing governments, health organizations and the private sector

with the strategies, tools and management support to effectively and efficiently

deliver high-functioning health systems. Working on behalf of the American people

with the U.S. Agency for International Development (“USAID”), the Centers for

Disease Control (“CDC”) and other government and international agencies, we

partner with countries to develop solutions for local health systems challenges to

sustain the delivery of people-centered primary health care.

      3.     MSH has not received any funds from USAID since January 24, 2025,

with one exception. MSH has received a small payment through the PMS system,

which is used for cooperative agreements, to support the narrow approval (both in

scope and duration) to resume specified activities under a PEPFAR “waiver.” To be

clear, this funding is supposed to cover activities from February 14, 2025, to March

15, 2025. It does not include funding to pay for expenses that were necessarily

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incurred to implement the Stop Work Order, nor for expenses that were incurred

prior to January 24, 2025. And the sum represents less than 5% of the total book of

business MSH has with the United States government on a monthly basis.

      4.     Since this lawsuit was filed, MSH and its employees have suffered and

are continuing to suffer irreparable harm.

      5.     MSH is facing insolvency if the United States government does not

immediately pay its debts to MSH.

      6.     In my Declaration dated February 10, 2025, I explained that the first

round of cuts to U.S.-payroll staff, which included furloughs and forced reduction of

hours, left only 27 full time employees remaining. This was a reduction from our

January 24, 2025, workforce of 254 full time employees on U.S. payroll.

      7.      On March 7, 2025–unless USAID pays MSH the funds they owe us–

MSH will be forced to make another round of furloughs and forced reduction of

hours for our U.S.-payroll staff. MSH expects that, after these cuts, as few as ten

individuals will remain as full-time staff. Again, this will be down from a January

24, 2025 total of 254 U.S. payroll staff.

      8.     Overseas, MSH already initiated the process of massive employee

terminations, which we expect with result in the separation of approximately 90%

of our non-U.S. payroll staff. Several millions of dollars in severance and other

termination payments are due to these employees under the national employment

laws of the countries where we are working on behalf of USAID. All such funds are

reimbursable under the operative contract or cooperative agreement between MSH

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and USAID. But, unless the United States government immediately makes those

funds available to MSH, MSH faces an impossible choice: either violate these

employment laws, risking further fines, interest and other sanctions, including

being barred from being able to conduct future business in those countries even

with non-United States government funding, and further jeopardizing the lives of

our overseas staff and their families; or pay these obligations out of its dwindling

funds and dramatically hasten the date of its own insolvency.

      9.     Finally, literally hundreds of vendors, sub-contractors, and sub-

awardees, both in the United States and throughout the world, are going unpaid.

Absent immediate payment by the United States government for funds it owes

MSH to allow us to satisfy those obligations, MSH anticipates that it will face an

untold number of lawsuits around the world.

Executed on February 20, 2025, in Arlington, Virginia.




                                                            Marian W. Wentworth
                                                            President and CEO,
                                                            MSH




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